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Form 192 − aplccmpnrpt

                                    UNITED STATES BANKRUPTCY COURT


District of New Jersey
401 Market Street
Camden, NJ 08102

                                         Case No.: 16−13798−JNP
                                         Chapter: 7
                                         Judge: Jerrold N. Poslusny Jr.

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Chari P. Braxton
   117 Summerbrooke Ct.
   Sicklerville, NJ 08081
Social Security No.:
   xxx−xx−6860
Employer's Tax I.D. No.:


                     NOTICE OF FILING OF FINAL ACCOUNT(S) OF TRUSTEE,
                      OF HEARING ON APPLICATIONS FOR COMPENSATION
              (AND OF HEARING ON ABANDONMENT OF PROPERTY BY THE TRUSTEE)

       THE FINAL REPORT(S) and account(s) of the trustee in this case having been filed,

       NOTICE IS HEREBY GIVEN that there will be a hearing held before Honorable Jerrold N. Poslusny Jr. on:

DATE:                 July 11, 2019
TIME:                 02:00 PM
LOCATION:             4th Floor Courtroom 4C, Mitchell H. Cohen Courthouse, 1 John F. Gerry Plaza, 400 Cooper
Street, Camden, NJ 08101−2067

for the purpose of examining and passing on the report(s) and account(s), acting on applications for compensation
and transacting such other business as may properly come before the court. Attendance by creditors is welcomed, but
not required.

The account of the trustee shows:

TOTAL RECEIPTS:                       486,128.65
TOTAL DISBURSEMENTS:                  197945.47
BALANCE ON HAND:                      288,183.18

In addition to expenses of administration as may be allowed by the court, claims secured by liens and claims entitled
to priority must be paid in advance of any dividends to general creditors. The following applications for
compensation have been filed: (creditors may be heard before the applications are determined)


APPLICANT(S)
Andrew Sklar, Trustee

COMMISSION OR FEES
$14,116.73

EXPENSES
$88.01
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The trustee's application to abandon the following property will be heard and acted upon:
NONE

The trustee's reports are available for inspection in the clerks office.

Any objection to the trustee's Final Report and Account must be filed (7) seven days prior to the above date and will
be heard at that time of the final meeting.




Dated: May 23, 2019
JAN: dmb

                                                                      Jeanne Naughton
                                                                      Clerk
